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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                 CASE NO.: 0:22-cv-60729-WPD

  TWOWS, LLC,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                           /

       NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

  counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against the following

  Defendants:

         AYXG (Defendant No. 12 on Schedule “A” to the Complaint).

  Date: June 27, 2022                                Respectfully submitted by,

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                                                     By:       /s/ Nicole Fundora
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